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EXHIBIT Y

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

~ 72-2 -+--+------------------------ X MDL NO. 1456

IN RE: PHARMACEUTICAL INDUSTRY : CIVIL ACTION:

AVERAGE WHOLESALE PRICE LITIGATION : 01-CV-12257-PBS

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THIS DOCUMENT RELATES TO:

U.S. ex rel. Ven-A-Care of the : CIVIL ACTION:
Florida Keys, Inc. v. Abbott > 06-CV-11337-PBS
Laboratories, Inc.

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IN THE CIRCUIT COURT OF

MONTGOMERY COUNTY, ALABAMA

~ pee ee eee ee eee xX

STATE OF ALABAMA, : CASE NO.
Plaintiff, : CV-05-219

Vv.

ABBOTT LABORATORIES, INC., : JUDGE

et al., : CHARLES PRICE
Defendants.

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is and what isn't an un -- so I don't know the

distinction. We've certainly never made that

distinction.
Q. Right.
A. I know that there have been lawsuits

filed against drug companies as qui tam.

Q. Okay.
A. Or qui tam.
Q. Did you have at any time any

understanding about an obligation to keep the
existence of such a lawsuit secret?

A. Not that I recall.

Q. Do you recall any conversations with any
individuals at Ven-A-Care relating to lawsuits they
may have filed?

A. No.

Q. Do you recall any conversations with
individuals from Ven-A-Care?

A. Yes.

Q. All right. Who at Ven-A-Care have you
spoken with?

A. There was a person named Mark, and there

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were other people, but I don't remember their
names.

Q. All right. What do you recall about
your conversations with Mark?

A. We'd had meetings, one meeting that I --
or two that I can recall. And also, I would
receive information from them about drug pricing.

Q. When did the meetings take place with
Mark and others?

A. I don't know the year.

Q. Roughly?

A. Maybe five year -- more than five years

ago, five years ago. I don't know.

Q. Do you have any record of those
meetings?

A. I don't.

Q. Do you know if anybody took notes at

those meetings?

A. I -- there may have been notes taken at
those meetings, yes.

Q. All right. Do you recall who attended

that meeting or --

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think, of Ven-A-Care.

Q. Anybody on OIG other than you?

A. Rob would be -- would have been on.

Q. Do you recall how many phone
conversations there were?

A. No.

Q. Do you recall what the purpose of the
phone conversations were?

A. I believe the purpose was to see what

information they had access to in terms of drug

pricing.

Q. Did they have access to drug pricing
information?

A. Yes.

Q. What kind of information did you get

from Ven-A-Care?

A. For certain drugs that we were
reviewing, Ven-A-Care could provide us with
information on what people could purchase them for
from either group purchasing organizations or at --
from wholesalers.

Q. Do you know where Ven-A-Care got that

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information?

A. I believe they were a functioning
pharmacy and supplier, so they received that
information as a purchaser.

Q. Where did you get your understanding
that Ven-A-Care was a functioning pharmacy and
supplier?

A. I guess from when I was first introduced

to what they were, who they were.

Q. Do you recall that introduction?
A. No.
Q. Did you ever obtain any information to

indicate that Ven-A-Care was not a functioning
pharmacy and supplier?

A. No, I don't believe so.

Q. Any other conversations with Ven-A-Care
that you can recall?

A. Not specifically.

Q. Any other communications with
Ven-A-Care; e-mail, letter, fax?

A. Faxes.

Q. Tell me about the faxes.

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